 Case 2:19-cr-00175-NT Document 71 Filed 08/24/21 Page 1 of 8                     PageID #: 350




                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF MAINE



UNITED STATES OF AMERICA                              )
                                                      )
VS.                                                   )      DOCKET 2:19-cr-175-NT
                                                      )
ALEXIS BOYD                                           )
                                                      )




 DEFENDANT’S REPLY TO THE GOVERNMENT’S OPPOSITION TO MOTION TO
                            SUPPRESS
         The Government’s opposition to Ms. Boyd’s motion to suppress proffers three purported

justifications for the stop of the vehicle in which Ms. Boyd was a passenger. Only one is fully

supported by the evidence in this case: the stop was conducted at night. What is less clear is

whether Mr. Green touched the fog line or was “barely maintaining the minimum speed of 45

mph.” Government’s Objection to Defendant’s Motion to Suppress (ECF #59) at 6 (“Gov’t Opp

Motion to Suppress”). Ms. Boyd appreciates the Government’s concession that a hearing is merited

by the facts in this case, and requests that the court schedule a hearing on her motion to suppress.

    I.      Even under the Government’s new alternative basis, the stop of Ms. Boyd was
            unreasonable.

         In its response in opposition to Ms. Boyd’s Motion to Suppress, the Government abandons

Trooper Darcy’s account of his basis for the stop. Gov’t Opp Motion to Suppress at 5. The

Government now contends that the vehicle just briefly touched the fog line on three instances. Id.

In its response, the Government argues that (1) these three alleged touches of the fog line, (2) the

time of the stop (10:30pm) and (3) the vehicle’s alleged speed provided sufficient reasonable

articulable suspicion to justify the stop.
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 Case 2:19-cr-00175-NT Document 71 Filed 08/24/21 Page 2 of 8                     PageID #: 351




           a. There is no evidence of the vehicle’s speed

       The dash cam video does not show the vehicle’s speed. There is no evidence that Trooper

Darcy clocked Mr. Green’s speed on radar. Trooper Darcy did not include his observations of Mr.

Green’s speed in his incident report. The only mention of the vehicle’s speed is Trooper Darcy’s

recorded statement to Mr. Green that he was traveling “like 45 miles per hour” on the night of the

stop – a statement he made immediately after also telling Mr. Green he’d seen him cross the fog

line on at least two occasions. Traveling 45 miles per hour on the stretch of road in question is

within the speed limit.

       Here, the Government appears to concede the Trooper was, at a bare minimum, wrong

when he claimed to see the vehicle cross the fog line. Yet it asks the court to look past this and

rely on the accuracy of the Trooper’s account of the remainder of the stop. Trooper Darcy’s

credibility is central to the litigation of this case, as outlined in Ms. Boyd’s previous filings,

including her Reply to the Government’s Opposition to her Motion for Discovery (ECF #66)

(hereafter “Reply to Gov’t Response Motion for Discovery”). The court should give no weight to

Trooper Darcy’s uncorroborated estimate (omitted from his own report) of the vehicle’s speed.

           b. Even if the vehicle was traveling 45 miles per hour, the stop is still unlawful.

       The Government asserts three possible justifications for the stop. First that the Trooper had

reasonable articulable suspicion that Mr. Green violated 29-A M.R.S. § 2051(1). Second, that

Trooper Darcy had an objective basis to believe Mr. Green was impaired. Finally, in a footnote,

the Government contends that the stop may have been justified under the police community

caretaking function. Their arguments fail for the reasons detailed below.

       Title 29-A § 2051(1) requires motorists to operate their vehicles “as nearly as practical

entirely within a single lane.” 29-A M.R.S. § 2051(1). The statute does not read “shall operate



                                                2
    Case 2:19-cr-00175-NT Document 71 Filed 08/24/21 Page 3 of 8                                  PageID #: 352




entirely within a single lane.” Moreover, a motorist may operate “as nearly as practical” and still

stray onto or across a lane line. The case law is consistent with this interpretation. As detailed in

her motion to suppress, Ms. Boyd was unable to find a single District of Maine or Maine State

case where a mere touching of the fog line alone violated 29-A M.R.S. § 2051(1). In United States

v. Williams, the district court analyzed the Vermont state statute analogous to the Maine statute. 1

United States v. Williams, 2014 WL 412526 at *19 (D.Vt. Feb 3, 2014). In Williams, the court held

that a touching of the passing demarcation line on a highway was not a violation of the statute and

that “a contrary interpretation would authorize random stops, penalize routine operation, and lead

to absurd or irrational results.” Id at 20 (internal citations omitted).

         Similarly, Ms. Boyd was unable to find a case where touching the fog line while the vehicle

was being operated within the speed limits was sufficient reasonable articulable suspicion of

impairment. The Government cites to three state cases. In all three cases, the vehicle operated

erratically within a lane and crossed over the center or fog line and then traveled to the other side

of the lane and either crossed or touched the fog line/centerline on the other side. See Gov’t Opp

Motion to Suppress at 5-6 citing State v. LaForge 43 A.3d 961 (2012 ME) (stop reasonable where

vehicle completely crossed the fog line twice and touched the center line twice and completely

crossed the center line another two times); State v. Porter, 960 A.2d 321 (ME 2008) (stop was

lawful where officer observed the vehicle drive onto the fog line and straddle the center lane before

crossing it by more than a foot); State v. Pelletier, 541 A. 2d 1296, 1296-97 (Me.1988) (stop was

reasonable after officer saw the vehicle cross the centerline three times and drift onto the shoulder

once over the distance).




1
 23 V.S.A § 1038(1): A vehicle shall only be driven, as nearly as practicable, entirely within a single lane and shall
not be moved from that lane until the driver has first ascertained that the movement can be made with safety.

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    Case 2:19-cr-00175-NT Document 71 Filed 08/24/21 Page 4 of 8                             PageID #: 353




        These cases are not comparable to the facts here. Even by Trooper Darcy’s account, the

vehicle never touched or crossed the lane to the line on the other side. The Government contends

that facts here are more egregious than those of State v. Caron. Gov’t Opp Motion to Suppress at

6. In Caron the officer witnessed the vehicle straddle the centerline for 25 to 50 yards. State v.

Caron, 534 A.2d 978, 979 (Me. 1987). The assertion that touching the fog line has more indicia

of an infraction than the facts of Caron, is unconvincing.

        Finally, in a footnote, the Government suggests the stop could be justified under the police

caretaking function. Gov’t Opp to Motion to Suppress at 6 FN 2. It cites to State v. Pinkham,

where, after witnessing the defendant drive straight through an intersection from a turning only

lane, officers initiated a stop to advise on proper lane usage. 565 A.2d 318, 319 (Me.1989). The

Maine Law Court vacated the district court’s order granting Mr. Pinkham’s motion to suppress,

holding the stop could be permissible to perform an informational function. Id.

        Even if the vehicle momentarily touched the fog line while driving at a lawful speed, this

was insufficient to support a reasonable belief Mr. Green was falling asleep or distracted. 2 State v.

Caron, 534 A.2d 978 (Me. 1987) (stop unreasonable where Trooper testified he believed the driver

to be asleep or impaired based on a single straddling of the center line); see also State v. Sousa,

2009 WL 2729826 (Me.Super.) (Trial Order) (May 27, 2009) (stop not justified by safety concern,

where officer was following vehicle and watched vehicle pull to the side of the road and then after

the officer passed, back onto the road). Importantly, as detailed in her Reply to Government’s

Response to Motion for Discovery, Ms. Boyd believes Trooper Darcy first saw her and Mr. Green




2
 In its motion the government wrote that Mr. Green explained to Trooper Darcy he was having difficulty
maintaining a lane because he was using GPS. Gov’t Opp Motion to Suppress at 2. This is incorrect. It was Trooper
Darcy who first suggested to Mr. Green that he was “messing around with the GPS or something like that.”
Defendant’s Motion to Suppress (ECF #42), Exhibit 2, Cruiser Dashcam Footage, 1:45.

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    Case 2:19-cr-00175-NT Document 71 Filed 08/24/21 Page 5 of 8                                 PageID #: 354




as they came through the toll booth. Reply to Gov’t Response Motion for Discovery at 6-7. If true,

Trooper Darcy observed Mr. Green just minutes before the stop, and thus knew he was fully alert. 3

            Mr. Green’s driving was not unlawful, dangerous, or erratic. There was no objective basis

to justify the stop.

     II.       The Extended Detention of Ms. Boyd was Unreasonable

            Trooper Darcy did not diligently pursue the means of the traffic stop. From the inception

of the stop, Trooper Darcy commenced a drug investigation. Prior to even running Mr. Green’s

license or verifying his registration, Trooper Darcy had already conducted separate roadside

investigations and called for the drug K9.

            To justify the drug investigation, the Government urges the court to focus on the

discrepancies in their itineraries and in their family tree. But this alone is insufficient. “There are

a googol of legal but embarrassing or confidential purposes for a trip to Maine that a driver might

want to keep from a trooper who stopped him…. In the absence of reasonable and articulable

suspicion of some actual crime, the officer cannot continue to detain the driver and passenger in

order to get to the bottom of their plan.” State v. Perez, 2019 N.H. Super. LEXIS 19, *29-30. The

court should reject the Government’s attempt to justify the expansion of the stop.

     III.      Conclusion

            Under Wren, a court does not look to the subjective motivations of the officer, but whether

there is an objective basis to justify the stop and detention. Wren v. United States, 517 U.S. 806

(1996). However, in the analysis of objective basis, courts have examined differing applications




3
  This is another example of why information pertaining to the Trooper’s credibility, pattern and practice falls within
the Government’s Brady obligations. See Defendant’s Motion for Discovery (ECF #41) at 6-16; Reply to
Government’s Response in Opposition to Defendant’s Motion to Discovery (ECF #66) at 4-7. Evidence that Trooper
Darcy observed Mr. Green minutes before the stop, and thus knew he was fully alert, is material and exculpatory
information that undermines the Government’s claim the stop could be justified by a safety concern.

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    Case 2:19-cr-00175-NT Document 71 Filed 08/24/21 Page 6 of 8                                  PageID #: 355




among communities. Our nation is in the midst of a national reckoning on race and policing. In

the wake of mass demonstrations and public outcry, it is clear that our communities are not equally

impacted by policing practices.

         A reasonable officer understands that they do not police from a blank slate. Instead, they

are policing against the backdrop of these past interactions. Pointing to factors such as

nervousness, evasive behavior, even headlong flight from police, in many circumstances is more

likely to be a measure of distrust or fear of the police, than of criminal wrongdoing. For this reason,

courts have interceded and cautioned against unqualified reliance on such indicators in the

reasonable articulable suspicion calculus. 4

         Mr. Green’s operation of his vehicle was not unlawful or erratic. Ms. Boyd’s and Mr.

Green’s conduct following the stop was also reasonable given the circumstances the Trooper

created.     The court should not allow the Government, to deploy these factors to justify

unconstitutional over-policing.

         WHEREFORE, for all the foregoing reasons, Defendant Alexis Boyd requests this

Honorable Court order the United States to produce the requested materials to the Defendant, and

schedule a hearing on defendant’s motion to suppress.



4
  In her Motion to Suppress, Ms. Boyd pointed to Justice Steven’s concurrence in Illinois v. Wardlow U.S. 119, 132
(2002) (Stevens J., concurring) (“Among some citizens, particularly minorities and those residing in high crime
areas, there is also the possibility that the fleeing person is entirely innocent, but, with or without justification,
believes that contact with the police can itself be dangerous, apart from any criminal activity associated with the
officer's sudden presence. For such a person, unprovoked flight is neither “aberrant” nor “abnormal.”); the Second
Circuit decision in United States v. Weaver 2020 WL 552310 *7(2nd Cir. 2020) (rejecting police claim that
defendant’s staring at vehicle and the inference from the stare that defendant was trying to “avoid police
surveillance” could be used as an articulable factor to support an investigatory stop explaining that “[e]ven if
Weaver had been concerned about encounters with the police, the hard reality is that, in the light of incidences of
police brutality and discriminatory policing, minority citizens across the country fear encounters with the police,
whether guilty or innocent); and Ninth Circuit decision in United States v. Washington, 490 F.3d 765, 770-74 (9th
Cir. 2007) (holding that under the totality of the circumstances, the police improperly seized the defendant, even
though he had already consented to the search of his person. In making its determination, the court considered the
tension between Portland police and the African American community, the authoritative manner of the search, and
the fact that the search occurred at night). Defendant’s Motion to Suppress (ECF #42) at 14-15.

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Case 2:19-cr-00175-NT Document 71 Filed 08/24/21 Page 7 of 8                PageID #: 356




    Dated this 24th day of August 2021, at Portland, Maine.

                                     Respectfully submitted,

                                        /s/ Daphne Hallett Donahue
                                        __________________________
                                        Attorney for Defendant
                                        Assistant Federal Public Defender
                                        P.O. Box 595
                                        Portland, Me 04112-0595
                                        207-553-7070
                                        FAX: 553-7017
                                        Daphne_Donahue@fd.org


                                        /s/ Grainne Dunne
                                        __________________________
                                        Attorney for Defendant
                                        Assistant Federal Public Defender
                                        P.O. Box 595
                                        Portland, Me 04112-0595
                                        207-553-7070
                                        FAX: 553-7017
                                        Grainne_dunne@fd.org




                                           7
 Case 2:19-cr-00175-NT Document 71 Filed 08/24/21 Page 8 of 8                   PageID #: 357




                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF MAINE

                                CERTIFICATE OF SERVICE

        I, Daphne H. Donahue, Esq., attorney for Alexis Boyd, hereby certify that I have caused to
be served via ECF a copy of this motion upon Meghan Connelly, Assistant United States Attorney,
and all counsel of record via the ECF system.

       Dated this 24th day of August, at Portland, Maine.

                                             Respectfully submitted,

                                             /s/ Daphne Hallett Donahue
                                             ___________________________
                                             Daphne Hallett, Donahue, Bar No. 5108
                                             Attorney for Alexis Boyd




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